Case 1:05-cr-00126   Document 497   Filed 07/08/09   Page 1 of 2 PageID #: 3707



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                            CRIMINAL NO. 1:05-00126-02

HECTOR REINAT

                MEMORANDUM OPINION AND JUDGMENT ORDER

     Pending before the court is defendant’s motion, pursuant to

18 U.S.C. § 3582(c)(2), to reduce his sentence based on a

subsequent reduction in the applicable sentencing guideline.                On

November 1, 2007, the United States Sentencing Guidelines were

amended to reduce by two levels the guidelines in Section 2D1.1

for cocaine base (also known as crack).          Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack

amendment retroactive, effective March 3, 2008.            Pursuant to the

court's Standing Order, this case was designated for Standard

consideration on October 23, 2008.

     The Court has received and considered the original

Presentence Investigation Report (PSI), Judgment and Commitment

Orders and Statements of Reasons, addendum to the PSI received

from the Probation Office, and any materials submitted by the

parties on this issue.     The Court has also considered the

applicable factors under 18 U.S.C. § 3553(a), consistent with

§ 3582(c)(2), and public safety.
Case 1:05-cr-00126   Document 497   Filed 07/08/09    Page 2 of 2 PageID #: 3708



        Based on the foregoing considerations, the motion is

GRANTED.     The Court ORDERS that Defendant’s base offense level be

reduced by two levels, resulting in a new total offense level of

27.   It is further ORDERED that Defendant’s previous sentence be

reduced to a period of 108 months, with credit for time served to

date.    This Order is subject to the prohibition contained within

U.S.S.G. § 1B1.10(b)(2)(C).

        The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Judgment Order, as well as the Order Regarding Motion

for Sentence Reduction (AO 247) filed this day, to defendant,

counsel of record, the Federal Public Defender, the United States

Marshal for the Southern District of West Virginia, and to the

United States Probation Office for forwarding to the Sentencing

Commission and Bureau of Prisons.

        It is SO ORDERED this 8th day of July, 2009.

                                           ENTER:


                                         David A. Faber
                                         Senior United States District Judge
